     Case 3:17-cv-00939-WHA Document 541-4 Filed 06/02/17 Page 1 of 7




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Charles K. Verhoeven (Bar No. 170151)
 2  charlesverhoeven@quinnemanuel.com
    David A. Perlson (Bar No. 209502)
 3  davidperlson@quinnemanuel.com
    Melissa J. Baily (Bar No. 237649)
 4   melissabaily@quinnemanuel.com
    John Neukom (Bar No. 275887)
 5  johnneukom@quinnemanuel.com
    Jordan Jaffe (Bar No. 254886)
 6  jordanjaffe@quinnemanuel.com
   50 California Street, 22nd Floor
 7 San Francisco, California 94111-4788
   Telephone:     (415) 875-6600
 8 Facsimile:     (415) 875-6700

 9 Attorneys for WAYMO LLC

10
                             UNITED STATES DISTRICT COURT
11
                            NORTHERN DISTRICT OF CALIFORNIA
12
                                 SAN FRANCISCO DIVISION
13

14
     WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA
15
               Plaintiff,                         PLAINTIFF WAYMO LLC’S SUR-REPLY
16       v.                                       IN OPPOSITION TO ANTHONY
                                                  LEVANDOWSKI’S MOTION FOR
17 UBER TECHNOLOGIES, INC.;                       INTERVENTION UNDER RULE 24 AND
   OTTOMOTTO LLC; OTTO TRUCKING                   MODIFICATION OF ORDER
18 LLC,                                           GRANTING IN PART AND DENYING IN
                                                  PART PROVISIONAL RELIEF
19             Defendants.
                                                  Hearing
20                                                Date: June 7, 2017
                                                  Time: 10:00 a.m.
21                                                Courtroom: Courtroom 8, 19th Floor
22                                                PUBLIC REDACTED VERSION OF
                                                  DOCUMENT SOUGHT TO BE SEALED
23

24

25

26

27

28

                                                                              No. 3:17-cv-00939-WHA
                  SUR-REPLY IN OPPOSITION TO MOTION TO INTERVENE AND MODIFY ORDER
      Case 3:17-cv-00939-WHA Document 541-4 Filed 06/02/17 Page 2 of 7




 1          Pursuant to the parties’ stipulation (Dkt. 530), and the Court’s authorization (Dkt. 534),

 2 Plaintiff Waymo LLC (“Waymo”) submits this Sur-Reply in Opposition to Anthony

 3 Levandowski’s Motion for Intervention and Modification of Order Granting in Part and Denying

 4 in Part Provisional Relief (the “Motion”) (Dkt. 466).

 5                                           INTRODUCTION
 6          The Court’s Preliminary Injunction Order (the “Order”) requires Defendants to “exercise

 7 the full extent of their corporate, employment, contractual, and other authority to . . . cause

 8 [Anthony Levandowski] to return the downloaded materials and all copies, excerpts, and

 9 summaries thereof to Waymo (or the Court) . . . .” (Dkt. 433 at 23 ¶ 2(b).) The crux of Mr.

10 Levandowski’s Motion is that this Order transforms any adverse employment action by Uber—a

11 private employer—into “state action,” because the Order “has compelled Uber to change its

12 previous course of conduct.” (Dkt. 519 (Reply) at 7; see also id. at 1.)

13          In his Reply Brief, Mr. Levandowski touts a “new development” that he claims has “added

14 additional force to [his] position.” (Id. at 1.) As argued in the Reply, “[o]n May 26, 2017, Uber

15 sent Mr. Levandowski a new letter stating that, because he has thus far failed to ‘cooperat[e]’ with

16 Uber’s efforts to comply with the Court’s May 11, 2017 Order . . . , Mr. Levandowski will be

17 terminated on June 15, 2017, unless he ‘cures’ the failure to cooperate by immediately complying

18 with the demands contained in Uber’s original May 15, 2017 letter.” (Id., quoting Dkt. 519-2 (Ex.

19 B to Reply) (emphasis in original).)

20          Rather than adding “additional force” to Mr. Levandowski’s argument, however, this

21 newly cited evidence conclusively refutes it. First, Uber’s May 26, 2017 Letter (the “May 26th

22 Letter”) cites multiple, independent reasons for Mr. Levandowski’s termination, which eliminates

23 any possibility that the Court’s Order constituted unconstitutionally coercive “state action.”

24 Second, the May 26th Letter states that Mr. Levandowski’s employment with Uber “is hereby

25 terminated for Cause.” (Dkt. 519-2 (Ex. B to Reply) at 1.) Thus, Mr. Levandowski was

26 terminated on May 26th, not June 15th. Presumably, Mr. Levandowski’s access to Uber’s

27

28

                                                      -1-                            No. 3:17-cv-00939-WHA
                                          SUR-REPLY IN OPPOSITION TO MOTION TO INTERVENE AND MODIFY ORDER
      Case 3:17-cv-00939-WHA Document 541-4 Filed 06/02/17 Page 3 of 7




 1 facilities have been terminated as has his access to his Uber email and Uber servers. (See Ex. 1.)1

 2 Although Uber provides a 20 day “cure” period, as set forth below, it is clear that Levandowski

 3 cannot “cure” the adverse employment action that has already been taken against him. Thus, the

 4 May 26th Letter confirms that Mr. Levandowski’s Motion is moot. Regardless of any

 5 modification to the Order now, Mr. Levandowski has already been terminated. The unwarranted

 6 modification of the preliminary injunction order sought by Levandowski would now have no

 7 effect on Levandowski’s employment. For these reasons, and those stated in Waymo’s Opposition

 8 (Dkt. 512), the Motion should be denied.

 9                                            ARGUMENT
10
            A.     The Court’s Order Is Just One Of Many Reasons For Mr. Levandowski’s
11                 Termination.
12          Contrary to Mr. Levandowski’s representation that the Court’s Order “has compelled Uber

13 to change its previous course of conduct” (Dkt. 519 (Reply) at 7), the May 26th Letter actually

14 demonstrates that Mr. Levandowski’s employment has been terminated for at least two separate

15 reasons that are both wholly independent of the Order:

16
                  “Second, you did not comply with the prior written directive to cooperate
                   with Uber’s investigation sent to you on April 20, 2017, by Angela Padilla
17                 (the contents of which are privileged). Your failure impeded Uber’s
                   internal investigation and defense of the lawsuit referenced above and
18                 constitutes a ground for termination for Cause.”
19
                  “Further, in your Employment Agreement, you represented and warranted
                   that ‘you have returned or destroyed all property and confidential
20                 information belonging to any prior employer.’ Your failure to comply
                   with the Letter gives Uber grounds to allege a breach of the representation
21                 and warranty in your employment agreement, and constitutes an additional
                   ground for termination with Cause.”
22

23 (Dkt. 519-2 (Ex. B to Reply) at 1.) During a June 1st meet-and-confer, Uber confirmed that Mr.

24 Levandowski is “fired,” that he “no longer works at Uber,” and that they did not expect him to

25 “cure” the breaches giving rise to his termination. (Ex. 1.) When Waymo pointed out that this

26 was seemingly inconsistent with Mr. Levandowski’s position that the May 26th Letter supports

27
        1
         References to “Ex. __” are to the accompanying Declaration of Patrick Schmidt. Pin cites
28 correspond to the last four digits of the Bates number of the cited page.

                                                    -2-                            No. 3:17-cv-00939-WHA
                                        SUR-REPLY IN OPPOSITION TO MOTION TO INTERVENE AND MODIFY ORDER
      Case 3:17-cv-00939-WHA Document 541-4 Filed 06/02/17 Page 4 of 7




 1 his request to modify the Order, Uber responded that it does not “necessarily agree” with those

 2 arguments. (Id.)

 3          Although Mr. Levandowski’s employment with Uber was “at will,” and terminable

 4 without “cause” (Ex. 2 at -7087), each of Uber’s two independently cited reasons for termination

 5 with cause are well-founded.

 6                                                        (Ex. 3 at -7111 – -7112.)

 7

 8

 9

10                 (Id. at -7112 (emphasis added).) As the May 26th Letter indicates, Uber conducted

11 just such an “internal investigation” and requested that Mr. Levandowski cooperate on April 20th

12 (i.e., 3 full weeks prior to the Order).2 (Dkt. 519-2 (Ex. B to Reply) at 1.) The May 26th Letter

13 further states that Mr. Levandowski’s failure to cooperate “impeded” this internal investigation

14 and Uber’s defense of the lawsuit. (Id.) As such, Mr. Levandowski’s termination for cause is

15 supported by conduct that predates the issuance of the Order.

16          Additionally,
17

18                                                                          (Ex. 3 at -7111 – -7112.)
19

20

21               (Ex. 2 at -7084.) Uber admits in its May 26th Letter that it now has “grounds to

22 allege” that Mr. Levandowski is in “breach of the representation and warranty in [his] employment

23

24

25
        2
26        Apparently, Uber is claiming that its letter seeking Mr. Levandowski’s cooperation is
   “privileged.” (Dkt. 519-2 (Ex. B to Reply) at 1.) Waymo reserves the right to challenge this claim
27 of privilege, including on the grounds that no common legal interest exists given Mr.
   Levandowski’s argument that Uber is unable to adequately protect his interests in regards to this
28 matter.

                                                    -3-                            No. 3:17-cv-00939-WHA
                                        SUR-REPLY IN OPPOSITION TO MOTION TO INTERVENE AND MODIFY ORDER
      Case 3:17-cv-00939-WHA Document 541-4 Filed 06/02/17 Page 5 of 7




 1 agreement,” which “constitutes an additional ground for termination with Cause.”3 (Dkt. 519-2

 2 (Ex. B to Reply) at 1.) Thus, by Uber’s own admission, Mr. Levandowski’s independent breach

 3 of his employment agreement further supports the adverse employment action.

 4          Because Uber can and, in fact, did terminate Mr. Levandowski for these independent

 5 reasons, Mr. Levandowski’s entire argument that the Court’s Order unconstitutionally coerced

 6 Uber to violate his Fifth Amendment rights must fail. As demonstrated in Waymo’s Opposition,

 7 adverse employment action taken by a private employer—even if motivated in part by a desire to

 8 cooperate with the government— does not somehow transform the actions of the private employer

 9 into “state action” with constitutional limitations:

10          [A] company is not prohibited from cooperating, and typically has supremely
            reasonable, independent interests for conducting an internal investigation and for
11          cooperating with a governmental investigation, even when employees suspected
            of crime end up jettisoned. A rule that deems all such companies to be
12          government actors would be incompatible with corporate governance and
            modern regulation.
13
     Gilman v. Marsh & McLennan Cos., Inc., 826 F.3d 69, 77 (2d Cir. 2016) (emphasis added). The
14
     only case that Mr. Levandowski cites for imposing constitutional restrictions on the actions of
15
     purely private employers involves the situation where the government’s influence was the “but
16
     for” cause of the deprivation in question. United States v. Stein, 541 F.3d 130, 155 (2d Cir. 2008)
17
     (“[T]hese defendants would have received fees from KPMG but for the government's
18
     interference.” (Emphasis added)). That is plainly not the case here, where Uber’s termination
19
     letter expressly lists grounds for termination with Cause that are entirely independent of the
20

21
        3
22          Uber couches its grounds for alleging a breach of the Employment Agreement on Mr.
     Levandowski’s failure to comply with an earlier, May 16th Letter in which Uber wrote that if Mr.
23   Levandowski denied taking downloaded materials from Google, he “must attest to that fact fully
     and completely in a written statement and provide that statement to the Uber legal department.”
24   (Dkt. 466-2 (Ex. A to Mot.) at 2.) Mr. Levandowski may attempt to argue that this directive came
     as a result of the Court’s Order, and Mr. Levandowski’s decision to remain silent in response to
25   Uber’s directive under the Order has now led to his termination. But, this argument fails. For this
     ground of termination, it is not Mr. Levandowski’s silence that has resulted in Uber terminating
26   his employment—it is the inference that he is in breach of his employment agreement resulting
     from his silence that has caused his termination. Considering that the Court is permitted to draw
27   such adverse inferences against Mr. Levandowski directly, he cannot seriously contend that Uber’s
     drawing of such inferences—even if as a result of the Court’s Order—results in a Fifth
28   Amendment violation.

                                                      -4-                            No. 3:17-cv-00939-WHA
                                          SUR-REPLY IN OPPOSITION TO MOTION TO INTERVENE AND MODIFY ORDER
      Case 3:17-cv-00939-WHA Document 541-4 Filed 06/02/17 Page 6 of 7




 1 Court’s Order. There has been no Fifth Amendment violation, and Mr. Levandowski’s Motion

 2 should be denied.

 3          B.     Mr. Levandowski’s Requested Relief Is Now Moot.
 4          Additionally, the Court should not even consider modifying its Order because doing so at

 5 this time will have no effect on Mr. Levandowski’s employment status. See California ex rel.

 6 Lockyer v. U.S. Forest Service, Case No. C 04-02588-CRB, 2006 WL 2038491, at *1 (July 20,

 7 2006) (“A case is moot where ‘the issues presented are no longer “live” or the parties lack a

 8 legally cognizable interest in the outcome.’” (quotation omitted)). The Court lacks jurisdiction to

 9 issue what would amount to a mere advisory opinion.

10          Here, Uber has alleged cause for termination based on Mr. Levandowski’s failure to

11 cooperate with an April 20th internal Uber investigation, as well as his breach of a representation

12 and warranty in his employment agreement. These breaches relate to past conduct whose legal

13 implications cannot be reversed within the 20-day cure period. Boat Owners Ass’n of U.S. v. Sea

14 Ventures of CA, Inc., Case No. CV 99-8703RJK, 2000 WL 33179449, at *6 (C.D. Cal. Aug. 7,

15 2000) (“Plaintiff need not have provided the fifteen-day time to cure because it was impossible for

16 Defendant to cure its breach.”); In re Premier Golf, LP, 564 B.R. 660, 686 (Bankr. S.D. Cal. 2016)

17 (holding that it was “logically and temporally impossible” for party to cure default of agreement).

18 It is therefore impossible for Mr. Levandowski to “cure,” meaning that for all intents and

19 purposes, his termination for cause on the independent bases cited by Uber is all but final

20 regardless of whether the Court modifies its Order. (See Ex. 1.) Under these circumstances, Mr.

21 Levandowski’s Motion is moot because the Court cannot redress his purported injury. See Get

22 Outdoors II, LLC v. City of San Diego, 506 F.3d 886, 894 (9th Cir. 2007) (refusing to reach merits

23 of question as to whether an “off-site sign ban” violated the First Amendment because “even a

24 decision enjoining the off-site ban would not redress the injury Get Outdoors II suffered due to the

25 denial of its permits.”); Herson v. City of Richmond, 631 Fed Appx. 472, 473 (9th Cir. 2016)

26 (unpublished) (finding that constitutional claims were not redressable where there was a

27 “independent, constitutionally valid reason” for the challenged conduct).

28

                                                     -5-                            No. 3:17-cv-00939-WHA
                                         SUR-REPLY IN OPPOSITION TO MOTION TO INTERVENE AND MODIFY ORDER
     Case 3:17-cv-00939-WHA Document 541-4 Filed 06/02/17 Page 7 of 7




 1                                        CONCLUSION
 2        For these reasons, and those stated in Waymo’s Opposition (Dkt. 512), the Motion should

 3 be denied.

 4

 5 DATED: June 2, 2017                      QUINN EMANUEL URQUHART & SULLIVAN,
                                            LLP
 6
                                              By /s/Charles K. Verhoeven
 7
                                                Charles K. Verhoeven
 8                                              Attorneys for WAYMO LLC

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                 -6-                            No. 3:17-cv-00939-WHA
                                     SUR-REPLY IN OPPOSITION TO MOTION TO INTERVENE AND MODIFY ORDER
